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              IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

                                         )
 UNITED STATES OF AMERICA                )
                                         )
 v.                                      ) CRIMINAL NO. 15-00102-CG-B
                                         )
 DSD SHIPPING, A.S., et al.,             )
                                         )
       Defendants.                       )


                                       ORDER

       This matter is before the Court on Defendant DSD Shipping, A.S.’s Motion to

 Exclude the Government’s Proposed Expert Testimony or, in the Alternative, to

 Compel Supplemental Notice (Doc. 152), the United States’ Response in Opposition

 (Doc. 176) and Defendant’s Reply (Doc. 183). Two other defendants moved to adopt

 DSD Shipping, A.S.’s motion: Xiaobing Chen (Doc. 156) and Xin Zhong (Doc. 158).1

 The Court granted the motions to adopt. (Doc. 162, 163). Based on the foregoing,

 Defendants’ motion is denied in part and granted in part.

                            STATEMENT OF THE LAW

       Upon a defendant’s request in a criminal matter, the government must

 provide the defendant with a written summary of any expert testimony it intends to

 use in its case-in-chief at trial. Fed. R. Crim. P. 16(a)(1)(G). Any expert summary

 the government provides “must describe the witness’s opinions, the bases and

 reasons for those opinions, and the witness’s qualifications.” Id. This rule does not


 1 DSD Shipping, A.S.; Xiaobing Chen; and Xin Zhong are hereinafter referred to as

 “Defendants.”
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 limit the amount of information the government may disclose but creates a

 minimum threshold. Fed. R. Crim. P. 16 advisory committee’s notes, 1974

 amendment. In noticing a defendant, the Eleventh Circuit has made it clear that

 the bases and reasons supplied in the summary should include “not only written

 and oral reports, tests, reports, and investigations, but any information that might

 be recognized as a legitimate basis for an opinion ….” United States v. Holland, 223

 F. App’x 891, 894 (11th Cir. 2007) (quoting Fed. R. Crim. P. 16 advisory committee’s

 notes, 1993 amendment).

          Rule 16 disclosure is intended to “minimize the results from unexpected

 expert testimony … and to provide the opponent with a fair opportunity to test the

 merit of the expert’s testimony through focused cross-examination.” Fed. R. Crim.

 P. 16 advisory committee’s notes, 1993 amendment; see also United States v. Noe,

 821 F.2d 604, 607 (11th Cir. 1987) (noting that the purpose of Rule 16(a) is to

 protect a defendant's right to a fair trial). But as the committee notes caution, the

 requirement for expert disclosure is “not intended to create unreasonable

 procedural hurdles.” Fed. R. Crim. P. 16 advisory committee’s notes, 1993

 amendment. And disclosure does not require the government to disclose every

 “nuance and detail” of its expert’s opinion, “or which may be drawn out on cross-

 examination.” United States v. Campbell, 2006 WL 346446, at *1 (N.D. Ga. Feb. 13,

 2006).



                                     DISCUSSION




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        On July 10, 2015, the United States filed its Notice of Expert Witnesses.

 (Doc. 82). Within the filing, the United States notified Defendants of five potential

 expert witnesses: (1) Kristy Juaire, (2) James Dolan, (3) Kathryn Cappetta, (4)

 Kevin Levy, and (5) Fred Reynolds. Defendants argue that each should be

 excluded. The Court will address each in turn.

             1. Kristy Juarie

        The first expert the United States proposes is Kristy Juarie (“Juaire”). The

 United States disclosed:

        Ms. Kristy Juaire is an expert in the field of oil sample analysis. Ms.
        Juaire will testify about testing she conducted of oil samples taken
        from the M/T Stavanger Blossom. A report of Ms. Juaire’s analysis
        and results has been previously provided to counsel for the defendants.
        Ms. Juaire is prepared to testify consistent with the report. Ms. Juaire
        bases her opinions on the results of analysis of samples by gas
        chromatography (GC) and gas chromatography-mass spectrometry
        (GC-MS). She further bases her opinions on her experience and
        training, as described in her curriculum vitae that has been separately
        provided to counsel for the defendants as part of this notice. Finally,
        Ms. Juaire will testify about the differences between samples taken
        from pipes, storage tanks, and various locations on the vessel.

 Id. at 1.

        Defendants aver that the United States’ disclosure regarding Juaire fails to

 offer her opinion, a summary interpretation of her report relied on, or how the

 sampling method she used related to her reports. On the other hand, the United

 States contends that its notice is sufficient when considered in conjunction with

 Juaire’s resume and 300-page report provided in discovery. (Doc. 176, p. 15).

        The United States’ disclosure of Juaire’s curriculum vitae may provide

 sufficient notice of her qualifications. Further, a solid foundation has been laid for



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 the bases and reasons of Juaire’s opinion by stating that she relied on GC and GC-

 MS testing and prepared a 300-page report of analysis.2 But as Defendants argue,

 it is intuitive that complex expert testimony requires a heightened level of detail to

 at least summarize the methodology used and conclusion(s) drawn. (Doc. 152, p. 6).

 The United States, however, fails to provide a summary of the methodology

 employed. This summary is necessary to test the merits of Juaire’s analysis. See

 United States v. Davis, 514 F.3d 596, 613 (6th Cir. 2008) (finding the government’s

 disclosure insufficient when it failed to provide the methods that led a chemist to

 his conclusion).

       Instead, the disclosure “provide[s] a list of the general subject matters to be

 covered, [and] d[oes] not identify what opinion[s] the expert w[ill] offer on those

 subjects.” United States v. Duval, 272 F.3d 825, 828 (7th Cir. 2001). But see

 United States v. Campbell, 2006 WL 346446, at *1 (N.D. Ga. Feb. 13, 2006) (finding

 the government’s disclosure of an expert forensic document examiner sufficient

 based on a four page summary of testimony and twelve-page, single-spaced report

 describing credentials, opinions, and overview of the process and reasoning in

 reaching the opinion). Therefore, the United States’ expert disclosure for Juaire

 fails to satisfy Rule 16 because it does not provide an opinion and a summary of the

 methodology Juaire relied on in reaching an opinion.




 2 GC and GC-MS testing separates a sample into its individual components, which

 allows for the identification and measurement of the component. WAKE FOREST
 UNIVERSITY, www.wfu.edu/chemistry/courses/organic/GC/index.html (last visited
 September 24, 2015).

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           2. James Dolan

        The second expert the United States proposes is James Dolan (“Dolan”). The

 United States disclosed:

        Mr. Dolan is an expert in marine engineering. He is expected to testify
        about the engineering components on the M/T Stavanger Blossom
        including, but not limited to: the Oily-Water Separator; Bilge Pump;
        Overboard Discharge Valve; storage tanks such as the Bilge Tank,
        Dirty Bilge Tank, Fuel Oil Sludge Tank, Waste Oil Tanks, Lube Oil
        Tank, and the Soot Collecting Tank; as well as associated piping,
        pumps, and hoses. He will also testify regarding his review of various
        documents from the vessel including, but not limited to: vessel
        diagrams of the M/T Stavanger Blossom, Oil Record Books; Rough
        Logs and Daily Sounding Logs; maintenance logs and records; and
        other machinery logs and documents. Further Mr. Dolan will testify
        that the engineering components, construction, and subsequent
        modification of the M/T Stavanger Blossom would allow the discharge
        of oily-waste from the vessel as described by the vessel’s crew. Mr.
        Dolan bases his opinions on his experience and training, as described
        in his curriculum vitae that has been separately provided to counsel for
        the defendants as part of this notice.

 (Doc. 82, p. 2).

        Defendants aver that a scientific expert’s opinion may be precluded if “[his]

 basis is nothing more than the expert’s experience and training.” (Doc. 152, p. 7).

 Defendants cite United States v. Frazier, 387 F.3d 1244 (11th Cir. 2004), in support

 of this proposition. If applicable to Rule 16 disclosure, this could be problematic for

 the United States. The Eleventh Circuit did affirm the district court’s exclusion of

 an expert’s opinion when it was generally based on his experience and training in

 Frazier. Id. at 1267. But a closer reading shows that the circumstances under

 which the expert in Frazier was excluded can be differentiated from those in this

 case. First, the district court in Frazier excluded portions of the expert’s testimony




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 after conducting a Daubert hearing. The instant matter is before the Court on

 Defendants’ Rule 16 motion and not after a Daubert hearing. Second, the central

 issue in Frazier revolved around the expert’s reliability. “Frazier[’s] [expert] was

 afforded every opportunity at the hearing to adduce the foundations of [his]

 challenged opinion” through direct and cross-examination. Id. at 1264. At this

 point, the United States has not had “every opportunity” to provide a foundation for

 its expert’s opinion through a Daubert hearing to establish reliability. The instant

 matter is before the Court to decide whether the United States met the threshold

 requirement to provide a “written summary of any [expert] testimony the” United

 States intends to use. See Fed. R. Crim. P. 16(a)(1)(G). Therefore, excluding an

 expert’s opinion because it is based on his experience and training goes too far at

 this point. But that does not mean that citing an expert’s experience and training

 equals automatic satisfaction of Rule 16. The disclosure should summarize the

 experience and training that “might be recognized as a legitimate basis for an

 opinion ….” See Holland, 223 F. App’x at 894.

       With regards to Dolan’s qualifications, the United States provided

 Defendants with a copy of his curriculum vitae and disclosed that he has fifty-three

 years experience in the relevant field. This may satisfy the qualification aspect of

 Rule 16. Also, the United States sufficiently provided Dolan’s opinion. He will

 opine that the M/T Stavanger Blossom could discharge oily-waste from the vessel.

 The fact that Dolan bases his opinion on his experience and training is not fatal.

 Further, it is reasonable that the experience and training of this fifty-three year




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 veteran in marine engineering could form the basis for his opinion. The problem is

 a summary regarding what part of his experience and training Dolan relied on is

 absent. And there is no summary at to his testimony “regarding various documents

 taken from the vessel.” Rule 16 requires more than broad and sweeping references

 to general documents. Therefore, the United States’ Rule 16 disclosure for Dolan is

 insufficient because it fails to summarize what parts of his experience and training

 played a part in his opinion and summarize his testimony regarding the documents

 Dolan reviewed.

          3. Kathryn Cappetta, Lieutenant Junior Grade

       The third expert the United States proposes is Lt. Kathryn Cappetta

 (“Cappetta”). The United States disclosed:

       Lt. Cappetta has been employed for three years as a Marine Inspector
       for the United States Coast Guard, Sector Mobile. During this time,
       she has conducted numerous inspections of large vessels for
       compliance with U.S. and international law, including inspections to
       confirm compliance with pollution prevention regulations such as
       MARPOL and the Act to Prevent Pollution from Ships. Lt. Cappetta
       has received training from the United States Coast Guard in marine
       inspections, including inspections of cargo and storage tanks aboard
       vessels. As such, Lt. Cappetta is an expert in the measurement of
       vessel storage tanks, the conversion of these measurements, and the
       records and logs necessary to document these measurements. She
       bases her opinion on her experience and training, as described in her
       curriculum vitae that has been separately provided to counsel for the
       defendants as part of this notice. Lt. Cappetta will testify regarding
       her review and comparison of various documents from the M/T
       Stavanger Blossom, including but not limited to: the Oil Record Book;
       Rough Logs and Daily Sounding Logs; the Garbage Record Book;
       maintenance logs and records; and other machinery logs, sounding
       logs, and documents. Further, she will testify that the Oil Record Book
       was fictitious, that the Oil Record Book was inconsistent with
       sounding logs found aboard the M/T Stavanger Blossom, and that the
       sounding logs reflect the discharge of oily-wastes from the M/T



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        Stavanger Blossom.

 (Doc. 82, p. 3).

        Defendants argue that the disclosure is deficient because it makes reference

 to numerous documents and Cappetta relied on her training and experience to come

 to an opinion. (Doc. 152, p. 9). The United States contends that the curriculum

 vitae, expert notice, and supporting documents in combination satisfy Rule 16.

        Like Dolan, the fact that the United States disclosed that Cappetta relied on

 her experience and training is not fatal. The United States provided Cappetta's

 curriculum vitae and disclosed that Cappetta is a seasoned inspector for the Coast

 Guard. Based on the disclosure, her inspection consisted of measurements of the

 vessel, conversions of the measurements, and comparison to the logs maintained on

 the vessel. All of this information is part of Cappetta’s report and lead to her

 opinion that the Oil Record Book was fictitious. Such “bases and reasons” are

 surely the type of “information that might be recognized as a legitimate” bases for

 an expert’s opinion. But what is absent is a summary of Cappetta’s experience and

 training that spells out the required steps for the measurements, conversions, and

 comparisons to the logs. Without more, an opposing party or expert would be hard

 pressed to analyze the merits of an expert’s opinion.

        Therefore, the United States’ Rule 16 disclosure for Cappetta is insufficient.

 It fails to summarize the relevant portions of her experience and training that led to

 her conclusion and the steps included therein.




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           4. Kevin R. Levy

        The United States fourth proposed expert is Kevin R. Levy (“Levy”). The

 United States disclosed:

        Mr. Levy is an expert in computer and electronic forensic analysis. He
        is expected to testify about the forensic analysis of computers and
        other electronic devises, and the seizure of electronic information from
        these devices. Any specific documents or other items of electronic
        evidence that Mr. Levy will testify about will be identified in the
        governments exhibit list in advance of trial. Mr. Levy bases his
        opinion on his experience and training, as described in his curriculum
        vitae that has been separately provided to counsel for the defendants
        as part of this notice.

 (Doc. 82, p. 2).

        Defendants argue that Levy’s experience and training are insufficient bases

 for his opinion and that there is no opinion offered for Levy. (Doc. 152, pp. 8-9).

 The United States contends that its disclosure for Levy meets Rule 16’s

 requirement when considered in conjunction with Levy’s curriculum vitae and

 disclosed report. (Doc. 176, p. 8).

        Here, the disclosed curriculum vitae may supply the necessary qualification

 notice. And like Dolan and Cappetta, Levy’s reliance on his experience and training

 is not necessarily fatal. But like Dolan and Cappetta, the United States fails to

 identify what parts of Levy’s experience and training provide the relevant “bases

 and reasons” for his opinion. The United States does attempt to disclose that Levy

 will testify in accordance with the “reports provided,” but it is just in a generalized

 reference to a document. And the disclosure contains no opinion. The United

 States does attempt to expand on Levy’s potential use at trial. See (Doc. 176, p. 9,




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  n. 6). This explanation moves towards what Rule 16 requires, but it still does not

  provide a an opinion nor summary of the method(s) Levy relied on to analyze the

  electronic equipment. Therefore, the United States has failed to meet its Rule 16

  burden as to Levy.

            5. Fred Reynolds, Special Agent

         The last expert the United States proposed is Special Agent Fred Reynolds

  (“Reynolds”). The United States disclosed:

         S/A Reynolds is an expert in the forensic analysis of digital and
         electronic images and videos. He is expected to testify about his
         analysis and use of computer software to visually enhance digital
         videos taken aboard the M/T Stavanger Blossom. Both the original
         videos and S/A Reynold’s [sic] enhancements have been previously
         provided to counsel for the defendants in discovery. S/A Reynolds
         bases his opinions on his experience and training, as described in his
         curriculum vitae that has been separately provided to counsel for the
         defendants as part of this notice.

  (Doc. 82, p. 3).

         Defendants argue that Rule 16 requires more disclosure than Reynolds will

  rely on his “experience and training” and that the United States failed to provide

  Reynolds’ opinion. (Doc. 152, p. 8). The United States counters that Reynolds'

  curriculum vitae detailed his experience and training that formed the bases and

  reasons for his opinion. (Doc. 176, pp. 9-10). Further, the United States argues

  that it provided detailed reports of Reynolds’ actions during discovery. Id.

         The curriculum vitae may provide sufficient notice of Reynolds’

  qualifications, and as with the other experts, the fact that Reynolds relies on his

  experience and training is not fatal. But the United States failed to summarize




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  what part of Reynolds’ training and experience provides the relevant methodology

  for “visually enhancing” the digital videos. Regardless of the videos being supplied

  to Defendants, a summary of how the enhancement occurred is necessary for

  Defendants to “test the merits” of his opinion “through focused cross-examination.”

  Fed. R. Crim. P. 16, advisory committee’s notes, 1993 amendment. It surely must

  be more involved than how the United States categorizes it: “similar increasing the

  contrast on a television.” (Doc. 176, p. 9, n. 7). Further, the United States offers no

  opinion for Reynolds. Therefore, the United States Rule 16 disclosure is insufficient

  because it fails to summarize what part of Reynolds’ experience and training

  provide the bases and reasons of his work or the opinion he reached based on his

  work.

          Finding the United States expert disclosures deficient, it is necessary to

  decide what is necessary to bring them into compliance with Rule 16. If a party

  fails to comply with this rule, the court may do one of four things: (1) “order that

  party to permit the discovery or inspection; specify its time, place, and manner; and

  prescribe other just terms and conditions:” (2) “grant a continuance;” (3) “prohibit

  that party from introducing the undisclosed evidence;” or (4) “enter any other order

  that is just under the circumstances.” Fed. R. Crim. P. 16(d)(2).

          Defendants argue that the United States’ proposed expert testimony should

  be excluded, or in the alternative, the government should provide supplemental

  expert disclosure. Exclusion is an extreme remedy as an initial matter. The Court

  finds that the appropriate remedy in this matter is for the United States to




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  supplement its Rule 16 disclosures.



                                   CONCLUSION

        Based on the foregoing, Defendants’ motion to Compel Supplemental Notice

  is GRANTED, and the motion to Exclude the United States’ experts is otherwise

  DENIED. It is hereby ORDERED and ADJUDGED that the United States shall

  supplement its disclosures as stated above, no later than October 7, 2014.

        DONE and ORDERD this 30th day of September, 2015.

                                        /s/ Callie V. S. Granade
                                        UNITED STATES DISTRICT JUDGE




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